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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

CHRIS OLSEN, on behalf of himself                                             PLAINTIFF
and all others similarly situated

v.                          CASE NO. 4:20-CV-00165-BSM

DESERT LAKE GROUP, LLC, et al.                                             DEFENDANTS

                                         ORDER

       Chris Olsen moved for a default judgment against defendant Peter Gallic, see Doc.

No. 43. A clerk’s default was entered. Doc. No. 49. Based on the evidence submitted

with the request, judgment is entered in favor of Olsen and against Gallic. A hearing will be

conducted to determine damages.

       IT IS SO ORDERED this 1st day of April, 2021.


                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE
